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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS


IN RE SOLODYN (MINOCYCLINE
HYDROCHLORIDE) ANTITRUST                      MDL No. 2503
LITIGATION                                    1:14-MD-2503-DJC


THIS DOCUMENT RELATES TO:
                                              Public Version
ALL ACTIONS



          MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
       MOTION TO EXCLUDE CERTAIN PORTIONS OF THE EXPERT
      TESTIMONY OF (1) TAMAR HOWSON AND (2) DENNIS CARLTON
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       All Plaintiffs submit this memorandum in support of their motion to exclude certain

opinions of Defendants’ proposed experts Ms. Tamar Howson and Dr. Dennis Carlton.

                                   I.      INTRODUCTION

       In this case, Plaintiffs allege that Medicis Pharmaceutical Corp. (“Medicis”) made a

reverse payment to Impax Laboratories, Inc. (“Impax”) to delay generic Solodyn. Medicis made

this payment by entering into an agreement (the “November 2008 deal”) that allowed Medicis to

unlawfully preserve its monopoly power in exchange for sharing its supracompetitive revenues.

At the same time, Medicis settled patent litigation against Impax, which agreed to delay its

generic launch until November 26, 2011.

       To obscure the nature of the delay payments to Impax, the November 2008 deal consisted

of two intertwined cross-referencing agreements, both executed on November 26, 2008: (a) a

License and Settlement Agreement (and amendments) (“LSA”) in which Impax agreed to drop

its challenge of the ’838 Patent and keep its Legacy Strength generic Solodyn products off the

market until November 2011, and (b) a purported “Joint Development Agreement” (“JDA”) (and

amendments), specifically referenced in the LSA, through which Impax received large,

unjustified and continuing payments that far exceed the fair value for any services that may have

been performed by Impax.

       Under the November 2008 deal, Impax agreed to develop a new form of Solodyn (“next-

gen Solodyn”) and four generic dermatology products (the “ANDA products”). Plaintiffs’ expert

John Tupman, a former business development executive at Eli Lilly, reviewed the five products

that Impax agreed to develop and concluded that the payments that Medicis agreed to make to
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                                                                                                      1
Impax exceeded the fair value of Impax’s development services by about

           Ms. Howson, a former business development executive from Bristol-Meyers Squibb and

SmithKline Beecham, and Dr. Carlton, an economist, appear to suggest in their reports that

Medicis did not overpay for the developments services. Their opinions on this front are

untethered from the law and unreliable. First, Dr. Gregory Bell, another of Defendants’ experts,




                                         . This is not a cognizable response to Plaintiffs’ evidence under

FTC v. Actavis, Inc. 3

           Second, the




    1
      See Expert Report of John R. Tupman, Jr., dated May 2, 2017, attached as Ex. 15 to Declaration of Lauren
Barnes ISO Plaintiffs’ Motion for Partial Summary Judgment and Daubert Motions filed Nov. 1, 2017 (“Barnes
Decl.”), at 5.
    2
      See Expert Report of Gregory K. Bell, Ph.D., dated June 30, 2017 (“Bell Rpt.”), attached as Ex. 3 to Barnes
Decl., ¶ 55 n.128

    3
        133 S. Ct. 2223 (2013) (“Actavis”).



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                                                                                    In any event, any alleged

benefits from the JDA concerned products distinct from the Legacy Strength generic Solodyn

that Impax agreed to delay, thus any benefits from these other products would affect a different

market than the one affected by Medicis’s reverse payment.

                                              III.      ARGUMENT

A.          Expert testimony must be relevant and reliable.

            Pursuant to Daubert, 19 expert opinion must be reliable and fit the facts of the case. “Rule

702 of the Federal Rules of Evidence assigns to the trial judge the responsibility for ensuring that

an expert’s testimony as to scientific, technical, or other specialized knowledge both rests on a

reliable foundation and is relevant to the task at hand.” 20 The trial court should exercise this

gatekeeping function when purported experts proffer “incorrect statements of law” 21 and

opinions that are not supported by the facts. 22

            Moreover, “a judge assessing a proffer of expert scientific testimony under Rule 702

should also be mindful of other applicable rules,” including Fed. R. Evid. 403, which permits

exclusion of relevant evidence if it might mislead the jury. 23




     19
          Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993).
     20
          McGovern v. Brigham & Women’s Hosp., 584 F.Supp.2d 418, 422-423 (D. Mass. 2008).
     21
        Herbert v. Lisle Corp., 99 F.3d 1109, 1117 (Fed. Cir. 1996) (“[the] exercise of the trial court’s gatekeeper
authority [is encouraged] when parties proffer, through purported experts, not only unproven science . . . but
markedly incorrect law. Incorrect statements of law are no more admissible through ‘experts’ than are falsifiable
scientific theories.”).
    22
       Brooke Grp. Ltd. v. Brown & Williamson Tobacco Corp., 509 U.S. 209, 242 (1993) (“When an expert
opinion is not supported by sufficient facts to validate it in the eyes of the law, or when indisputable record facts
contradict or otherwise render the opinion unreasonable, it cannot support a jury’s verdict.”).
    23
       Daubert, 509 U.S. at 595; Fed.R.Evid. 403 (“The court may exclude relevant evidence if its probative value is
substantially outweighed by a danger of … misleading the jury….”).



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dispelled by Dr. Bell, another of their experts, who wrote in his report that
                                                                                 29
                                                                                      However, at deposition,
                                                                                                                   30


           Ms. Howson

                                                                                                            Instead,




           The issue under Actavis is not whether it made business sense for the parties to use a

reverse payment to resolve their patent dispute. It is whether the payment was made to avoid the

risk of generic competition or for some other reason. 34 Because a significant part of this analysis

is whether the patentee used the payment to induce the generic to abandon its claim in exchange

for a share of the brand manufacturer’s monopoly profits, 35 it is not appropriate to focus

exclusively on value to the brand manufacturer and ignore the generic’s perspective. An


    29
         Bell Rpt. ¶ 55 n.128.
    30
      Transcript of the Deposition of Dennis Carlton, taken Sept. 19,2017 (“Carlton Tr.”), attached as Ex. 21 to
Barnes Decl., at 78:3-11; Howson Tr. at 72:6-11.
    31
         Howson Dep. at 72.
    32
         Id. at 69-70.
    33
         Carlton Rpt. ¶ 8.
    34
       Actavis, 133 S. Ct at 2237 (“Although the parties may have reasons to prefer settlements that include reverse
payments, the relevant antitrust question is: What are those reasons? If the basic reason is a desire to maintain and to
share patent generated monopoly profits, then, in the absence of some other justification, the antitrust laws are likely
to forbid the arrangement.”).
     35
        Actavis, 133 S. Ct. at 2235 (explaining that a reverse payment is evidence “that the patentee seeks to induce
the generic challenger to abandon its claim with a share of its monopoly profits that would otherwise be lost in the
competitive market”).



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                                                   Accordingly, regardless of the Court’s

determination as to the admissibility of Ms. Howson’s opinions,

              should be excluded because it relies on an opinion from Ms. Howson that does not exist.

          In her report, Ms. Howson asserted that Impax

                            ” in developing next-gen Solodyn. 40
                                                                                                41


While Ms. Howson




                                                            44
                                                                 More significantly,




          Ms. Howson’s unsupported speculation is more likely to confuse or improperly influence

the jury than to provide it with probative evidence of Medicis’s estimate of the agreement’s

   40
        Howson Rpt. ¶ 82.
   41
        Id.
   42
        Howson Tr. at 100:16-101:13.
   43
        Id. at 213:6-214:19.
   44
        Id. at 102:21-103:11.
   45
        Id. at 103:21-104:3.
   46
        Id. at 213:16-18.
   47
        Id. at 95:20-22.



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ability of pharmaceutical manufacturers to settle Hatch-Waxman litigation. Actavis explicitly

acknowledged that drug manufacturers do not need reverse payments to settle patent cases

because they “may, as in other industries, settle in other ways, for example, by allowing the

generic manufacturer to enter the patentee’s market prior to the patent’s expiration, without the

patentee paying the challenger to stay out prior to that point.” 66 Payments from the brand

manufacturer, not settlements generally, have the “potential for genuine adverse effects of

competition.” 67

           The two examples Actavis provides underscore that the procompetitive justifications must

justify the payments, not the settlement:

                    The reverse payment, for example, may amount to no more than a
                    rough approximation of the litigation expenses saved through the
                    settlement. That payment may reflect compensation for other
                    services that the generic has promised to perform . . . Where a
                    reverse payment reflects traditional settlement considerations, such
                    as avoided litigation costs or fair value for services, there is not the
                    same concern that a patentee is using its monopoly profits to avoid
                    the risk of patent invalidation or a finding of noninfringement. 68

           The Court unambiguously concluded that, “one who makes such a payment” must be able

to “explain and to justify it.” 69



                                                                              are not a legally cognizable

justification pursuant to Actavis.

           Moreover, any procompetitive justification must benefit the market affected by the


so unrelated to the challenged practice that they amount to a collateral attempt to salvage a practice that is decidedly
in restraint of trade”).
    66
         Actavis, 133 S. Ct. at 2237.
    67
         Id. at 2234 (quoting FTC v. Indiana Fed’n of Dentists, 476 U.S. 447, 460-61 (1986)).
    68
         Id. at 2236 (emphasis added).
    69
         Id. at 2237 (emphasis added).



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anticompetitive conduct. Actavis explained that payments might be justified when they “reflect

compensation for other services that the generic has promised to perform – such as distributing

the patented item or helping to develop a market for that item.” 70 This statement suggests that

that any benefits must be in the same market for the product alleged to have been delayed. For

the payment to benefit the relevant consumers, it must reflect fair value for “distributing the

patented item or helping to develop the market for that item.” 71 Similarly, traditional rule-of-

reason case law holds that “[p]rocompetitive justifications for price-fixing must apply to the

same market in which the restraint is found, not to some other market.” 72 The development of a

different product in a different market does not create any offsetting benefit in the market for the

product affected by the reverse payment; development of a different product or product is thus

not a cognizable procompetitive benefit. 73

                                                                                            , Dr. Carlton offers no

explanation for



                                                                                                          . The

opposite is true. 74


    70
         Id. at 2236 (emphasis added).
    71
         Id.
    72
       Law v. National Collegiate Athletic Ass’n, 902 F.Supp. 1394, 1406 (D. Kan. 1995), aff’d, 134 F.3d 1010
(10th Cir. 1998), cert. denied, 525 U.S. 822 (1998); see also Paladin Assocs., Inc. v. Montana Power Co., 328 F.3d
1145, 1157 n.11 (9th Cir. 2003) (holding that procompetitive effects in one market cannot justify anticompetitive
effects in a separate market); Los Angeles Mem’l Coliseum Com’n v. Nat’l Football League, 726 F.2d 1381, 1392
(9th Cir. 1984) (“The relevant market provides the basis on which to balance competitive harms and benefits of the
restraint at issue.”), cert. denied, 469 U.S. 990 (1984).
    73
       See e.g., U.S. v. Phila. Nat’l Bank, 374 U.S. 321, 370 (1963) (asserting anticompetitive effects of conduct in
one market cannot be justified by beneficial effects in another).
    74
       See In re Niaspan Antitrust Litig., 42 F.Supp.3d 735, 753 (E.D. Pa. 2014) (holding that tying obligations
under an agreement that were purportedly for fair value to the generic continuing to keep its product off of the
market indicates that the payments do not reflect traditional settlement considerations, but rather are meant to ensure
the generic stays off of the market and/or does not challenge the brand’s patents).



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           2.       Permitting Generic Entry Before Patent Expiry Does Not Justify the
                    Payments.

           Dr. Carlton opined that

                                    . 75                                       cannot justify a reverse

payment.

           In Actavis itself, the agreement permitted generic entry more than five years before

expiration of the patent. 76 Nowhere in the opinion did the Supreme Court suggest that a pre-

patent expiry entry date could constitute a procompetitive justification. That was the rationale of

the so-called “scope of the patent” test that Actavis expressly rejected. 77 Under that test, reverse

payments were lawful so long as entry was permitted no later than expiration of the patent

term. 78

           Actavis squarely rejected this approach of “measur[ing] the length or amount of a

restriction solely against the length of the patent’s term.” 79 Deeming an agreement

procompetitive merely because it permits pre-patent-expiry entry assumes that the patent is valid

and infringed and that consumers therefore benefit from any “early” entry.

           That assumption --                                                             -- is precisely what

Actavis rejected. As it explained, a patent “may or may not be valid, and may or may not be

infringed.” 80 The patent litigation “put the patent’s validity at issue, as well as its actual



    75
         Carlton Rpt. ¶ 55.
    76
         Actavis, 133 S.Ct. at 2229.
    77
         FTC v. Watson Pharmaceuticals, Inc., 677 F.3d 1298, 1312 (11th Cir. 2012).
    78
      Id.; see also Actavis, 133 S.Ct. at 2227 (“[S]ince the alleged infringer’s promise not to enter the patentee’s
market expired before the patent’s term ended, the [Eleventh] Circuit found the agreement legal and dismissed the
FTC complaint.”); see also In re Ciprofloxacin Hydrochloride Antitrust Litig., 544 F.3d 1323, 1332-37 (Fed. Cir.
2008); In re Tamoxifen Citrate Antitrust Litig., 466 F.3d 187, 212-13 (2nd Cir. 2006).
    79
         Actavis, 133 S. Ct. at 2231.
    80
         Id.



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preclusive scope[,]” 81and it is therefore error to answer the antitrust question by merely referring

“as the [Eleventh] Circuit referred, simply to what the holder of a valid patent could do,” 82 when

the brand’s payment was designed to prevent a judicial determination of the patent’s power. No

brand manufacturer would make a payment to a competitor that it was suing unless it believed

that the payment was likely to delay entry. Commentators concur that after Actavis

manufacturers “cannot defend their agreements by merely arguing that . . . the settlement

provided entry prior to patent expiration.” 83

                                            IV.      CONCLUSION

           For all the foregoing reasons, Plaintiffs respectfully request that the Court preclude the

foregoing opinions of Ms. Howson and Dr. Carlton.




    81
         Id.
    82
       Id. at 2230-31; see also In re Nexium (Esomeprazole) Antitrust Litig., No. 12-md-02409, 2013 WL 4832176
at *10-11 (D. Mass Sept. 11, 2013) (defendants’ argument is “predicated” on the “widely followed scope-of-the-
patent test” which “the Supreme Court rejected” in Actavis).
    83
       FTC v. Actavis and the Future of Reverse Payment Cases, Remarks of Joshua D. Wright, Commissioner,
Federal Trade Commission at the Concurrences Journal Annual Dinner, Sept. 26, 2013, attached as Ex. 60 to Barnes
Decl.; see also The FTC’s Role in Shaping Antitrust Doctrine: Recent Successes and Future Targets, Remarks of
Joshua D. Wright, Commissioner, Federal Trade Commission, 2013 Georgetown Global Antitrust Symposium
Dinner, Sept. 24, 2013, attached as Ex. 61 to Barnes Decl., (“The Court flatly rejected the scope of the patent test,
and accepted the Commission’s argument that companies cannot defend such agreements by merely arguing that the
brand-name drug company would likely have prevailed had the patent case been fully litigated or that the settlement
provided for entry prior to patent expiration.”); Carrier, Five Arguments Laid to Rest After Actavis, ANTITRUST
SOURCE, Oct. 2013, at *2-3, attached as Ex. 59 to Barnes Decl. (courts applying the scope-of-the-patent test
“assumed the patent was valid and infringed and up[held] the agreement as long as it did not extend beyond the
patent’s expiration date” but “[t]he Supreme Court made clear that this deferential scope test is not appropriate I
determining the antitrust legality of reverse-payment settlements.”); Aaron Edlin, Scott Hemphill, Herbert
Hovenkamp, & Carl Shapiro, Activating Actavis, 28 ANTITRUST 16, 21 (2013) attached as Ex. 57 to Barnes Decl.
(“[T]he Court makes clear that payments made to delay competition or to avoid the risk of competition (in the event
that the patentee loses the patent litigation) violate the antitrust laws. They do so even if the claimed infringer has
only agreed to abstain from competition during a portion of the patent period.”).



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Dated: November 1, 2017                         Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

       I, Lauren G. Barnes, hereby certify that this document was electronically filed and served

by email on all counsel of record.



       Date: November 1, 2017                                      /s/ Lauren G. Barnes
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